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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 PROTECTIVE LIFE INSURANCE
 COMPANY,

                        Plaintiff,                 Misc. No. _________________

        v.                                         D.D.C. Case No. 20-cv-2101

 WELLS FARGO BANK, N.A., as securities
 intermediary,

                        Defendant.


      PLAINTIFF’S MOTION TO COMPEL PRODUCTION BY THIRD-PARTIES
        PFP FUNDING I LLC, PFP FUNDING II LLC, CHC FINANCIAL LLC,
           COVENTRY FIRST LLC, AND COVENTRY CAPITAL I LLC

       Plaintiff Protective Life Insurance Company (“Protective Life”) respectfully moves this

Court for an entry of an order under Fed. R. Civ. P. 45 compelling PFP Funding I LLC, PFP

Funding II LLC, CHC Financial LLC, Coventry First LLC, and Coventry Capital I LLC (the

“Coventry Entities”) to produce all responsive documents in accordance with the Subpoenas Duces

Tecum served on the Coventry Entities by Protective Life (the “Subpoenas”) in a STOLI case

pending in the United States District Court for the District of Columbia, Protective Life Ins. Co. v.

Wells Fargo Bank, N.A., Case No. 20-cv-2101 (the “D.C. Action”) (attached hereto as Exhibit A

to the Declaration of Chase A. Howard). The grounds for this Motion are set forth more fully in

the accompanying Memorandum of Law, Local Rule 26.1 Certification, and Declarations of Chase

A. Howard and Douglas B. Fox in support thereof, which are incorporated by reference here in.


Dated: July 12, 2021

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                                                              Chase A. Howard, Esq.
                                                              Joseph M. Kelleher, Esq.
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